Case 2:02-cV-02958-STA-egb Document 114 Filed 08/01/05 Page 1 of 3 Page|D 134

IN THE UNITED sTATEs DISTRICT CoURT
FoR THE WESTERN DIsTRICT 01= TENNESSEE 05 Aug ..| pH h_ 0
wEsTERN DIVIsIoN ' 3

THG*‘MSV it|. GOUi

C“LEHK, US r"_!Qn_{ T
THoMAs P. LEWIS, »,/@.3_;; -f~;;. H§Dggtlil

Plaintiff,
v. No. 02-2958-B
UNITED STATES,
Defendant/Third-Party Plaintiff,
v.
RONALD L. EDMONDS,

Third-Party Defendant.

 

ORDER OF REFERENCE

 

Before the court is Third-Party Defendant Ronald Edrnonds’s Objections to Thomas P.
Lewis’s Exhibit List filed on June 30, 2005.

These objections are referred to the United States Magistrate Judge for determination
Any objections to the magistrate judge’s order shall be made Within ten (10) days after service
of the order, setting forth particularly those portions of the order objected to and the reasons for
the objections Failure to timely assign as error a defect in the magistrate judge’s order will
constitute a waiver of that objection. See Rule 72(a), Federal Rules of Civil Procedure.

IT IS SO ORDERED this ___day of August, 2005.

dead

J DANIEL BREEN\
D sTATEs DISTRICT JUDGE

This document entered on the docketgh/ee in compliance
Wah ama ss andrch rsta; FacP on ;/O,§ l § q

     

UND11E sTAEsT D1s11C COURT - WESTERN1CSR1T oF TNNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 114 in
case 2:02-CV-02958 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed

 

 

Stephen H. Biller

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/1emphis7 TN 38120

Lisa A. Krupicka

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Lindsey W. Cooper

U.S. DEPARTl\/[ENT OF .TUSTICE
P.O. Box 227

Ben Franklin Station

Washington, DC 20044

Sarn 13. Blair

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Williarn Vann Hearnburg

SMITH GAl\/[BRELL & RUSSELL, LLP
1230 Peachtree St., N.E.

Suite 3100, Prornenade 11

Atlanta, GA 30309--359

Scott J. Crosby

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

John G. Despriet

SMITH GAl\/[BRELL & RUSSELL, LLP
1230 Peachtree St., N.E.

Suite 3100, Prornenade 11

Atlanta, GA 30309--359

Case 2:02-cV-02958-STA-egb Document 114 Filed 08/01/05 Page 3 of 3 Page|D 136

Jason S. Zarin

U.S. DEPARTl\/[ENT OF .TUSTICE
P. O. BoX 227

Ben Franklin Station

Washington, DC 20044

Honorable .1. Breen
US DISTRICT COURT

